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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      HERMAN OVERPECK, et al.,
                                                                                          Case No. 18-cv-07553-PJH
                                  8                    Plaintiffs,

                                  9              v.                                       ORDER RE SUPPLEMENTAL
                                                                                          BRIEFING FOR CLASS
                                  10     FEDEX CORPORATION, et al.,                       CERTIFICATION MOTION
                                  11                   Defendants.                        Re: Dkt. No. 330

                                  12
Northern District of California
 United States District Court




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                                  14          Defendants in the above-captioned case have filed an administrative motion for

                                  15   leave to file a sur-reply to plaintiffs’ motion for class certification. See Dkt. 330.

                                  16   Defendants’ administrative motion sets forth three arguments in favor of their request to

                                  17   file a sur-reply: (1) “plaintiffs made new legal arguments not made in their class

                                  18   certification motion,” (2) “FedEx Ground should have the opportunity to substantively

                                  19   address Hinds v. FedEx Ground,” and (3) “plaintiffs submitted hundreds of pages of new

                                  20   deposition excerpts with their reply.” See id.

                                  21          As to argument (1), the court disagrees that plaintiffs’ reply presented new legal

                                  22   arguments. Plaintiffs’ opening class certification brief argued that “it is standard practice

                                  23   for both [package and delivery] and linehaul drivers to stay ‘on duty’ for more than 5

                                  24   consecutive hours,” and their reply similarly argues that “the drivers are continuously on

                                  25   duty throughout their shifts and therefore whatever ‘breaks’ they manage to take are in

                                  26   violation of the ‘off duty’ requirement for meal and rest periods.” See Dkt. 287 at 11; Dkt.

                                  27   326 at 12. This is not a new argument presented for the first time in reply.

                                  28          Defendants further point to plaintiffs’ argument in reply that “any risk of preclusion
                                  1    can be mitigated through opt-out provisions under Rule 23(b)(3).” Dkt. 326 at 5. As

                                  2    plaintiffs point out in their opposition to defendants’ administrative motion, plaintiffs’ reply

                                  3    argument was responsive to defendants’ opposition argument that plaintiffs and their

                                  4    counsel do not meet the adequacy requirement of class certification. Dkt. 332 at 3.

                                  5    While defendants seek to bolster their argument by asserting that plaintiffs “failed to

                                  6    disclose to the court binding Ninth Circuit authority” contradicting their argument, that

                                  7    assertion is separate from whether plaintiffs’ reply argument was indeed new. Moreover,

                                  8    the court notes that defendants did not actually provide a case citation to the “binding

                                  9    Ninth Circuit authority” it references, which leaves the court unable to determine whether

                                  10   plaintiffs’ cited case is indeed effectively overruled.

                                  11          For those reasons, the court finds that plaintiffs’ reply does not present new

                                  12   arguments, and thus, defendants’ administrative motion is DENIED as to argument (1).
Northern District of California
 United States District Court




                                  13   The court further notes that, to the extent defendants believe that plaintiffs have cited a

                                  14   case that is no longer good law, they are free to make that argument at the motion

                                  15   hearing.

                                  16          Moving to argument (3), defendants argue that “plaintiffs submitted hundreds of

                                  17   pages of new deposition excerpts with their reply.” Defendants argue that plaintiffs have

                                  18   “taken testimony out of important context, leaving misleading impressions about the

                                  19   actual substance of the testimony,” and ask that they be “permitted to supplement the

                                  20   record with responsive evidence from the same depositions plaintiffs used.” Dkt. 330 at

                                  21   4.

                                  22          Defendants’ argument (3) is essentially an objection to the reply evidence

                                  23   submitted by plaintiffs. The court notes that the local rules already provide for a party to

                                  24   file objections to reply evidence, and the court further notes that defendants have already

                                  25   filed such objections, along with over 900 pages of exhibits. See Civil L.R. 7-3(d)(1); see

                                  26   also Dkt. 333. Defendants have already had ample opportunity to supplement the record

                                  27   with additional evidence, and thus, their present administrative motion is DENIED as to

                                  28   argument (3).
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                                  1           As to argument (2), however, the court does find there to be sufficient basis for

                                  2    supplemental briefing. Another court in this district issued a class certification order in a

                                  3    case involving similar facts on August 18, 2021, after both the opening motion and

                                  4    opposition brief were due in this case. See Hinds v. FedEx Ground, 04-cv-1431, Dkt. 171

                                  5    (N.D. Cal.) (Aug. 18, 2021). Because it would be useful for the parties to present their

                                  6    arguments as to the persuasiveness of the Hinds decision, the court GRANTS

                                  7    defendants’ administrative motion as to argument (2) and sets the following supplemental

                                  8    briefing schedule: defendants shall have until September 22, 2021 to file a supplemental

                                  9    brief addressing Hinds, and plaintiffs shall have until September 29, 2021 to file a

                                  10   supplemental response. The briefs are not to exceed five (5) pages.

                                  11          IT IS SO ORDERED.

                                  12   Dated: September 14, 2021
Northern District of California
 United States District Court




                                  13                                                    /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  14                                                United States District Judge
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